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 1 JAMES R. GREINER, ESQ.
   CALIFORNIA STATE BAR NUMBER 123357
 2 LAW OFFICES OF JAMES R. GREINER
   555 UNIVERSITY AVENUE, SUITE 290
 3 SACRAMENTO, CALIFORNIA 95825
   TELEPHONE: (916) 649-2006
 4 FAX: (916) 920-7951
 5   ATTORNEY FOR DEFENDANT
     DANA SCOTT MCINTIRE
 6
 7               IN THE UNITED STATES DISTRICT COURT FOR THE
 8                      EASTERN DISTRICT OF CALIFORNIA
 9
     UNITED STATES OF AMERICA,      )              CR.NO. S-06-0253-JAM
10                                  )
          PLAINTIFF,                )
11                                  )              STIPULATION AND ORDER
          v.                        )              TO CONTINUE THE JUDGMENT AND
12                                  )              SENTENCING DATE TO TUESDAY,
     DANA SCOTT MCINTIRE, et. al., )               OCTOBER 18, 2011
13                                  )
                                    )
14        DEFENDANTS.               )
                                    )
15   ______________________________)
16
           Plaintiff United States of America, by its counsel, Assistant United States
17
     Attorney, Mr. Jason Hitt and defendant Dana Scott McIntire, by his attorney, Mr.
18
     James R. Greiner, hereby stipulate and agree that the current Judgment and
19
     Sentencing date of Tuesday, August 30, 2011 can be vacated and a new Judgment and
20
     Sentencing date of Tuesday, October 18, 2011, at 9:30 a.m. before Federal District
21
     Court Judge, Honorable John A. Mendez, can be set by the Court.
22
           The parties also agree and stipulate to a new Pre-sentence Report Schedule as
23
     follows:
24
                 Counsel’s written objections to Probation           September 6, 2011
25
                 Pre-sentence Report to be filed with the Court
26               and disclosed to Counsel                                   September 27,
                                                                            2011
27
28                                             1
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 1                Motion for Correction of Pre-Sentence Report     October 4, 2011
 2                Reply, or Statement of Non-Opposition            October 11, 2011
 3                Judgment and Sentencing Date                     October 18, 2011
 4
            The Court’s courtroom deputy, Mr, Harry Vine, has been contacted to ensure
 5
 6   the Court’s calendar was available for Judgment and Sentencing on Tuesday, October
 7
     18, 2011, and the Court is available.
 8
 9          The defendant waives time to October 18, 2011 for Judgment and Sentencing.
10
            It is so stipulated and agreed.
11
12
                                       BENJAMIN B. WAGNER
                                       UNITED STATES ATTORNEY
13
14                                     /s/ Jason Hitt -by e mail authorization
     DATED: 8-30-11                    _____________________________________
15                                     Jason Hitt
16                                     ASSISTANT UNITED STATES ATTORNEY
                                       ATTORNEY FOR THE PLAINTIFF
17
18   DATED: 8-30-11                    /s/ James R. Greiner
19
                                       _______________________________________
                                       James R. Greiner
20                                     Attorney for Defendant Dana McIntire
21
22
23
   ///
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   ///
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28                                             2
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 1
 2
                                       ORDER
 3
 4
 5
          FOR GOOD CAUSE SHOWN, IT IS SO ORDERED.

 6
 7
     DATED: AUGUST 31, 2011.
 8
 9
10
                           /s/ John A. Mendez
11                         JOHN A. MENDEZ
12                         UNITED STATES
                           DISTRICT COURT JUDGE
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